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Se 3.07 cv 00795 .]AP-T.]B Document 13-2 Filed 04/16/07 Page 1 of 5 Page|D' 221
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RlKE,& ll ANZIG, SCHERER, HYLAND & PERRETTL LLT’

 

 

 

One Spee iwcil Avcnue
P.O. Box 1981
Morristovm, Nc:w lcrsoy 07962~198§ v
Attomoys for Dcfondants Ca.rvin Pallonborg and Riteway, LLC
“ _"" ‘ _ *'“ ‘ ` " ' "“ UNFFED STATES olsTRiCT cooa’r
A.S."i`., L`;C, § I)ISTRICT OF NEW JERSEY
PlFintiff/Counterclaim Dei`ondant, Civil Action NQ, 07-795(JAP)
V. z
R LLENBERG,
CA m PA », CERTIFICATION ()F `I`HOMAS
Dofendani/Countorclaim Plainiif£` § H_`INDlNG ¥N OJ?POSI'I`}.ON TO A.S.T.,
5 LLC’S APPLICA'I`[ON FOR
and PREL!MINARY INJUNCTWE RELiEF

Rl'l`EWA Y, LLC, ABC lNCS l~lO{), XYZ

 

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HOMAS HINDENG, of full age, hereby certifies as foilows:

l am a member in R.iteway, LLC (“Ritoway"), Defendant in the abovo~capt”ioned
am also the owner ot`Hindjng 'Elennis Courts, the entity cited in Piaintift`, A.S.T., `l.,l..C’s
Veriiied Cornplaint as Hinding Sealcoating,. l have personal knowledge of the facts set
ein and submit this Certi§cation in oppo$ition to AST"s application for preiiminary
65 reliefl
i employed Defcndant Carvin Palienborg as a salesman with Hinding Sealcoating
ril 1998 to _May 2002. i have had a long professional and personal relationship with
allenborg; in fact Carvin has been a family friend for over twenty years. Professionaily,
as Worked for my company not only with regard to tennis court crack repair, but in oil

surface contracting }Iinding Seaiooating initialiy did mainly driveway and parking Eot

 

PAGE 113 * R€VD AT 4»'11|2811?'5:00:41 PM [Easiem Dayii§hl 'i§me}* SVR:RDMOFAXUB " DNIS:B?H * CSlDfZUIi ?45 9559* DURATlGli (mm»$$)',(]i-fii

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seslcoatin g, with occasional tennis court sealcoating, and Hinding Tenriis Courls focuses orr the

repair oftenrris courts

\

3. l~linding Tennis Conrts has been a customer of AST tor several years

4. l have used AST’s ARMOR product (“ARMOR”). Tliere have been problems
with the ARMOR product and l have received numerous complaints during the past several
yesrs, with issues such ss “bub'oling” that occurs in the winter months fiberglass tearing away
from the an and 3rd t`abric layers of the product, and the creation of “hollow” sounding areas on
the court We offer a 3 year warranty on our products; in the past several years we have gone
back to over 25% of out ARMOR customers to do repair warranty worl<;.

5. le Novernber 2006, my brother Steven Hinding and l formed Riteway under the
laws of tie State of New Yorlr t`or the purpose of selling end servicing a range of sports surface
products However, Ritewey has not yet conducted any business or had any sales to date

6 Ritewey has no ot`fices, egents, employees property or telephone listing in New
Jersey. Ritewsy has not appointed so agent for service of process in New lersey. `Ritewsy has
neither sold any products in New Jersey nor otherwise entered into any contracts or transacted
any business in blow .Tersey.

7. Ritewsy lies not obtained or used any confidential information of AST from any
source
S. Recently, on Msrcii 39w 2007, l wrote to Mr. Clspp with regard to the numerous
failures ct`the ARMOR product end asked him to contact roe to discuss potential solutions (A
true and correct copy of the Msrch 30, 2001 e-maii to Deniel Clepp is attached hereto as
Exhibit A.) l did not receive a response from Mr. Clepp.

‘3_ Hinding Tennis Conrts will no longer use ARMC>R doe to tire numerous failures

 

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PAGE 33 * RCVD ill lilillllul _5'.0014? Pltl [EaSlEl’n Dayllghl T`lme]* SVR:RDMGFAX?!@ " DN§S'.S?Zl * CS\D;?U$2515955§‘DURATION(mm-SS):M»JZ

Case 3:07-cV-OO795-.]AP-T.]B Document 13-2 Filed 04/16/07 Page 3 of 5 Page|D: 223

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expressed in the applications l have installed My decision is unrelated to Carvin Pslienberg’s
resignation from AST but is intended to he in the best interests of Hindiog 'l` ennis Conrts and its
clients in short, my company will not do business with AST any longer

10 1 am a member ol" the American Sports Buiidcrs Association (“A.SBA"), a trade
association for builders1 designers and suppliers of materials t`or tennis courts and other sports
surfaces l arn personally familiar With ali of the contractors listed in Paragraph 20 of the
Verified Cornplaint in this action Ali -- or nearly ali -~ of these contractors are generally known

in the sports surfacing industry and have attended trade shows and/or conventions at one time or

another.

ll. As oi" April 2, 2007, Mr. Pallen'oerg was hired as an employee of Hincli_ng 'I'ennis
Courts to evaluate potential job sites and provide me Witb the pertinent information for price
quoting
l certify that the foregoing statements made by me are true and accurate l am aware that

if any of the foregoing statements are willfully falsc, l run subject to punishment

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.~ " `~¢`
" f ;~».__

distort/ins antonio

Dated: April ll, 2007

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PAGE 313 * RCVD AT fillilZUU?'§:UU!il Plll [Easiem Day|ig§il Tl§lle] ‘ SVR‘.RDMGFAX'UB * DN|S:S??§ * CSlG£ZUB 245 §559 * DURATlON (mm-SS):lll-ll

 

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EXHIBIT A

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Vuotto, Jonathan

 

From: Seaier@ao|.com

Sent: Friday, lviarch 3{), 2007 7:24 Ai\/i
To: dan@armorcrackrepair.com
Cc: inio@armorcracl<repair.com
Subject: Question

Dan- Putting tne legal stuff to the side for a second, i have a few questions to ask you that i am trying to get to
the bottom of with regards to some failures we are having.

i. During the past winter, we have had severat compiaints about "armoi” coming up in "sheets". l have gone
out to took at rnany of these jobs and for the life of me, l cannot figure out what the probiem isk t have enclosed
some pictures for you to review. i was wondering if you have had any of the same problems or ii you l<now of
for any reason why Layl<old’s t\lu Surl‘would be causing this to happen The “ONi_Y" difference we have done
over the past year and a halt is use the i\lu Surtirorn time to time to apply this material_

2. Since the inception of using the product, we are constantly getting calls about *‘bubbles" especially this
time ot the year. However, the bubbling seemed to occur much earlier (before frost) last year and with the miid
start to the winter it was very annoying for people who wanted to use there court during the warm winter days
and especially right now.

3. As you are aware of, we have a potential serious probiem ai Staples HS. The par§< and recreation
director is very concerned Tiiis is a job if you remember we did at the end of the year and when l ordered the
material from you at the end of the year (5 Boxes), l asked you it you thought if it would be a problem putting
the materiai down, you thought we would be fine So i did installed it and there are some major concerns

Lil<e l mentioned before, l do not wish to discuss any iegal matters with you, however, i need to get some
answers to these peopte as to why l arn having so many failures here. f have enclosed a tew pictures for you
to look at, these were jobs done over the past 24 months

ltyou'd like feel tree to contact rne on my cell or respond to this email. Once again, t do not wish to discuss
anything but these issue listed above

The hrst two pictures two pictures (320 and 322) are from a town tn l-iarttord. l did not do this job, they
informed me a contractor from VT. did this job last year and it has aiready started to come up. So as you can
see, t am not the onty person experiencing this problem The second set is a job of mine that t did last year for
the City of lvlilforci_

Thanl< you for your tirne. Any suggestions or advise would be much appreciated

Hinding Tennis Courts
thomas P. Hinding
P,O. Box 313
Guiitord, CT. 06437
203-453-41€7~ Oi"iice
203-410~6090- Ceil
203-245-9559~ Fa><

See what's free at W_O_|= om.

4/11/2007

